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                                                      Footnotes


   1     The homeowners each appealed the consolidated summary judgment order, and the law firm filed three
         appeals of the district court's Rule 11 order, one for each Rule 11 motion. We consolidated all six appeals.

   2     Of course, the window for filing a Rule 11 motion after final judgment eventually closes. See Fed. R. Civ. P.
         11 advisory committee's note to 1993 amendment (explaining that a Rule 11 motion, “if delayed too long, may
         be viewed as untimely”). But when that happens is not at issue here. We concluded in Baker, for example,
         that a Rule 11 motion filed within 30 days of final judgment was timely. 158 F.3d at 522–23. And the law firm
         here filed its Rule 11 motions only five days after final judgment.

   3     “If a pleading, motion, or other paper is signed in violation of this rule, the court, upon motion or upon its
         own initiative, shall impose upon the person who signed it, a represented party, or both, an appropriate
         sanction ....” Fed. R. Civ. P. 11 (1983) (amended 2007).

   4     A number of district courts have reached the same conclusion. See, e.g., Blue Heron Com. Grp., Inc. v.
         Webber, No. 18-CV-00467, 2019 WL 2537789, at *2– *3 (M.D. Fla. June 20, 2019); Guthrie v. United States,
         No. 12-22193-CIV, 2015 WL 13617271, at *4 (S.D. Fla. Apr. 30, 2015); Warehouse Sols., Inc. v. Integrated
         Logistics, LLC, No. 11-CV-02061, 2014 WL 11279467, at *7 & n.3 (N.D. Ga. Oct. 14, 2014); Adkins v. Hosp.
         Auth. of Houston Cnty., No. 04-CV-0080, 2013 WL 5437636, at *4 (M.D. Ga. Sept. 27, 2013). Those cases
         were incorrectly decided.

   5     As a bankruptcy proceeding, Walker was governed by Bankruptcy Rule 9011, which is “substantially identical”
         to Federal Rule of Civil Procedure 11. See Walker, 532 F.3d at 1308 (quotation omitted). Most important here,
         both impose a 21-day safe harbor period. Id. Walker relied on Rule 11 precedent to interpret Bankruptcy
         Rule 9011, so like both parties we assume that Walker’s holding applies to Rule 11 as well.



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